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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                         Chapter 11
    In re:

    ATHENEX INC., et al.,                                                Case No. 23-90295 (DRJ)

                                       Debtors. 1                        (Joint Administration Requested)


                        NOTICE OF TELEPHONIC AND VIDEO CONFERENCE
                          HEARING ON CERTAIN EMERGENCY MOTIONS

             On May 14, 2023, the above-referenced debtors and debtors in possession (the “Debtors”)

commenced these chapter 11 cases.

             PLEASE TAKE NOTICE that in accordance with the Procedures for Complex Chapter 11

Cases in the Southern District of Texas (the “Complex Case Procedures”), a hearing has been set for

May 16, 2023 at 5:00 p.m. (prevailing Central Time) (the “First Day Hearing”) before Judge Jones

of the United States Bankruptcy Court for the Southern District of Texas – Houston Division (the

“Court”) to consider the following motions (the “Motions”):

             1.       Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the
                      Debtors to Use Cash Collateral, (II) Granting Adequate Protection to Prepetition Term
                      Loan Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
                      Hearing, and (V) Granting Related Relief. [Docket No.8]

             2.       Debtors’ Emergency Motion for Entry of an Order Authorizing the Debtors to (I) Pay
                      and/or Honor Prepetition Wages, Salaries, Incentive Payments, Employee Benefits,
                      and Other Compensation; (II) Remit Withholding Obligations and Deductions; (III)
                      Maintain Employee Compensation and Benefits Programs and Pay Related
                      Administrative Obligations; and (IV) Have Applicable Banks and Other Financial
                      Institutions Receive, Process, Honor, and Pay Certain Checks Presented for Payment
                      and Honor Certain Fund Transfer Requests. [Docket No. 9]

             3.       Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
                      Maintenance of Existing Bank Accounts; (II) Authorizing Continuance of Existing
                      Cash Management System; (III) Granting Waiver of Section 345(B) Deposit
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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/athenex. The location of Athenex, Inc.’s principal
      place of business and the Debtors’ service address in these chapter 11 cases is 1001 Main Street, Suite 600, Buffalo,
      NY 14203.
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                 Requirements; (IV) Authorizing Continued Performance of Intercompany
                 Transactions and Funding; and (V) Granting Related Relief. [Docket No. 10]

        4.       Debtors’ Emergency Motion for the Entry of an Order (I) Approving the Proposed
                 Adequate Assurance Deposit for Future Utility Services, (II) Prohibiting Utility
                 Providers From Altering, Refusing, or Discontinuing Services, (III) Approving the
                 Proposed Adequate Assurance Procedures for Resolving Adequate Assurance
                 Requests, and (IV) Granting Related Relief. [Docket No. 11]

        5.       Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Payment of
                 Certain Taxes and Fees and (II) Granting Related Relief. [Docket No. 12]

        6.       Debtors’ Emergency Motion for Entry of Orders (I) Establishing Notification
                 Procedures and Approving Restrictions on (A) Certain Transfers of Interests in
                 Debtors and (B) Certain Worthless Stock Deduction Claims; (II) Establishing
                 Notification Procedures and Approving Restrictions on Certain Transfers of Claims
                 Against Debtors; and (III) Granting Related Relief. [Docket No. 13]

        7.       Debtors’ Emergency Motion for Entry of Order (A) Authorizing the Debtors to Pay
                 Certain Prepetition Claims Related to Shipping and Warehousing Obligations and
                 (B) Granting Related Relief. [Docket No. 14]

        8.       Debtors’ Emergency Motion for Entry of an Order (I) Extending Time to File (A)
                 Schedules of Assets and Liabilities, (B) Schedules of Executory Contracts and
                 Unexpired Leases, (C) Statements of Financial Affairs, and (D) Bankruptcy Rule
                 2015.3 Reports; and (II) Granting Related Relief. [Docket No. 15]

        9.       Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to
                 Redact Certain Personally Identifiable Information, (II) Approving the Form and
                 Manner of Notifying Creditors of the Commencement of the Chapter 11 Cases and
                 Other Information, and (III) Granting Related Relief. [Docket No. 16]

        PLEASE TAKE FURTHER NOTICE that the First Day Hearing will be conducted

virtually only. No in-person attendance will be permitted. Audio communication will be by the

use of the Court’s dial-in facility. You may access the facility at (832) 917-1510. Once connected,

you will be asked to enter the conference room number. Judge Jones’s conference room number is

205691. Video communication will be by use of the GoToMeeting platform. Connect via the free

GoToMeeting application or click the link on Judge Jones’s homepage. The meeting code is

“JudgeJones.” Click the settings icon in the upper right corner and enter your name under the

personal information setting.



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        PLEASE TAKE FURTHER NOTICE that hearing appearances must be made

electronically in advance of the Hearing.       To make your appearance, click the “Electronic

Appearance” link on Judge Jones’s homepage. Select the case name, complete the required fields,

and click “Submit” to complete your appearance. All documents filed in this chapter 11 case are

available free of charge by visiting https://dm.epiq11.com/athenex. Copies of any pleadings or papers

filed with the Court may be obtained by visiting the Court’s website at https://ecf.txsb.uscourts.gov

in accordance with the procedures and fees set forth therein.

 Dated: May 14, 2023                             PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ DRAFT
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                                                 Proposed Counsel to the Debtors and Debtors in
                                                 Possession




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                                  CERTIFICATE OF SERVICE


       I hereby certify that on this 14th day of May, 2023, a true and correct copy of the above and
foregoing has been served on all parties that are registered to receive electronic transmission through
this Court’s CM/ECF filing system in these cases.


                                                      /s/ Michael D. Warner
                                                      Michael D. Warner




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